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                Radioactive contamination at the Jana
                 Elementary School, Hazelwood, MO
                    Incomplete testing by the U.S. Army Corps of
                       Engineers nevertheless reveals hazards.



    Prepared by: Boston Chemical Data Corp.
    Marco Kaltofen, PhD., PE (civil, MA)
    July 26, 2022



    U.S. Army Corps of Engineers (“Army Corps”) documents recently obtained
    by the Missouri Coalition for the Environment through a Freedom of
    Information Act request reveal the presence of elevated amounts of
    radionuclides on and under the grounds of the Jana Elementary School in
    Hazelwood, MO. These radionuclides include isotopes of both radium and
    thorium.


    The combined activities of dangerous alpha-radiation emitting radionuclides
    (radium and thorium) on the Jana School site exceed the level of 5
    picoCuries per gram (pCi/g) above background for isotopes of radium or
    thorium as specified in 40 CFR 192. The US Environmental Protection
    Agency (EPA) notes that a clean up level of no more than 5 pCi/g above
    background is the actual health-based clean up level expected when radium
    and thorium are comingled, according to EPA’s “Use of Soil Cleanup
    Criteria in 40 CFR Part 192 As Remediation Goals for CERCLA Sites”
    (1988, p. 5).



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    Testing shows the nature of the radioactive material at the school is
    consistent with the radioactive legacy uranium processing wastes
    notoriously found in the heavily-contaminated Coldwater Creek in North St.
    Louis County, MO, and in low-lying areas subject to flooding from the
    creek. Based on data from the US Agency for Toxic Substances and Disease
    Registry and peer-reviewed scientific literature (ATSDR 2019, Kaltofen
    2018) the radioactive waste found at the Jana School matches that found in
    the St. Louis Airport, HISS, and other radioactively-contaminated locations.
    Most importantly, the radioactive wastes at the Jana School and other North
    St. Louis County sites are rich in thorium-230, a radioactive isotope that
    emits highly-damaging alpha radiation.


    The Jana School property is bordered on two sides by Coldwater Creek and
    one of its contaminated tributaries. The property is low-lying in elevation
    and subject to flooding from Coldwater Creek. The primary isotope found
    by the Army Corps at the Jana School was thorium-230. Upstream and off of
    this site along Coldwater Creek, the Army Corps found as much as 178,000
    pCi/g of thorium-230 versus a background level of 1.51 pCi/g, so the
    condition of the school grounds is not surprising (NUREG CR2722, Table
    4).


    Army Corps test results show radioactivity well in excess of 5 pCi/g levels
    determined by the EPA to be protective of human health. In fact the Army
    Corps data shows that surface soils at the Jana School reach 22.60 ± 4.39
    pCi/g, and as much as 34.30 ± 6.61 pCi/g in subsurface areas. EPA has a
    subsurface criterion of 15 pCi/g for subsurface thorium (also from 10 CFR
    Part 192). This subsurface criterion from EPA is likewise exceeded at the

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    Jana School.


    The Army Corps’ tests are incomplete and inadequate because no samples
    were collected from school buildings on the school property where the Army
    Corps found radioactive contamination in outdoor soils, including in buried
    soils. It is not possible to assess the risk to students and employees of Jana
    Elementary because the Army Corps’ testing was limited to outdoor soil
    samples. The Army Corps also failed to sample from areas nearest the
    actual occupied school buildings.




    Above: Map showing Jana School surrounded on two sides by contaminated areas,
    location of contaminated Moule Drive homes, and untested area closest to the school.



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    The school staff and students spend most of their time indoors each school
    day, but no indoor samples were collected or tested. The soil samples were
    also collected on portions of the property furthest from the actual school
    building itself. Radioactive contaminants are spread towards the school
    buildings by creek flooding, nevertheless, all of the Army Corps soil
    samples were taken at least 300 feet from the school buildings, and thus
    away from areas most used by children and staff, and away from locations
    where the greatest number of people would be expected to congregate.


    The contamination on Jana School grounds extends from the surface soils to
    depths as much as six feet below the ground surface. The Army Corps did
    not test more than six feet below ground, so the true depth of radioactive
    contamination on the Jana site is unknown. There is no data to determine
    whether or not radioactive contamination exists below that depth.


    Despite these inadequacies, Army Corps data found 84 locations and depths
    on the school property where thorium-230 was significantly above the
    expected background of 1.5 pCi/g. The average activity of these 84 samples
    was 6.18 ± 1.46 pCi/g of thorium-230.


    To fully characterize the risk presented by the Defendants’ radioactive
    thorium to residents of the Coldwater Creek area, the U.S. Agency for Toxic
    Substance Disease Registry (ATSDR) advises interior sampling of structures
    with contaminated exterior soil like Jana Elementary (ATSDR 2019).

         ATSDR recommends that the FUSRAP program continue
         investigating and cleaning up Coldwater Creek sediments and
         floodplain soils to meet regulatory goals. To increase knowledge

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         about contaminant distribution and allay community concerns,
         we recommend future sampling include

              Areas reported to have received soil or sediment
               moved from the Coldwater Creek floodplain (such as
               fill used in construction)

              Areas with possible soil or sediment deposited by
               flooding of major residential tributaries to Coldwater
               Creek

              Indoor dust in homes where yards have been cleaned
               up or require cleanup

              Sediment or soil remaining in basements that were
               directly flooded by Coldwater Creek in the past

         ATSDR recommends signs to inform residents and visitors of
         potential exposure risks in areas around Coldwater Creek not
         yet investigated or cleaned up.


    Engineers and experts that have been studying nearby homes found that
    indoor samples from creek-facing homes in the neighborhood of the Jana
    Elementary School had the same types of radioactive materials both indoors
    and outdoors. In 2019 ATSDR has noted that radioactive wastes are
    routinely moved from Coldwater Creek into homes due to flooding.


          “If floodwaters inundated a home’s basement directly, some of
          the sediment washed inside could possibly contain Th-230 or
          other radiological contaminants. If Th-230 was present in
          sediments remaining on walls or Rloors of a basement, residents
          could accidentally swallow it or disturb it enough to inhale it.
          Radiological contamination in and around Coldwater Creek,
          prior to remediation activities, could have increased the risk of
          some types of cancer in people who played or lived there.
          Children and adults who regularly played in or around

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          Coldwater Creek or lived in its Rloodplain for many years in the
          past (1960s to 1990s) may have been exposed to radiological
          contaminants. ATSDR estimated that this exposure could have
          increased the risk of developing lung cancer, bone cancer, or
          leukemia.”

    One nearby home on Moule Drive was tested and found to be contaminated
    by these same radioactive wastes. Worse, this same home also had metallic
    thorium (used in the making of atomic bombs) and cesium-137 (a
    radioactive isotope associated with nuclear wastes). Indoor dust samples
    collected from this home were found to be contaminated with thorium-
    containing radioactive particulate matter (RPM). The most likely source of
    these radioactive materials is flooding from the creek, which carries
    contaminated sediments into the house’s basement and surrounding soils.


    RPM inside the home had up to 70.4 percent thorium by weight (704,000
    ppm). Indoor house dust also contained mercury (3.16 ppm) and cadmium
    (14.3 ppm). These concentrations for mercury and cadmium are more than
    ten times the expected level. Radioactive cesium-137 was found at 2.20 ±
    1.09 and at 4.71 ± 2.80 pCi/g; more than twenty times the highest
    background levels found in the area (Kaltofen 2018 citing Wallo 1994).
    Indoor dust at the home also had 6.23 ± 0.52 pCi/g of Pb210, compared to
    the background activity of 2.08 pCi/g (EPA Region 7 Site Background &
    Current Conditions, https://semspub.epa.gov/work/07/30337840.pdf).


    The homes on Moule Drive are located about 400 to 500 feet from the areas
    tested by the Army Corps. Like the Jana School property, these Moule Drive
    homes border on and are sometimes flooded by Coldwater Creek. Inhaling,


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    ingesting or even dermal (skin) contact with these radioactive materials
    found inside the home can cause significant biological damages. It is
    important to test for these same materials indoors at the nearby elementary
    school.


    The Army Corps first detected radioactive thorium near the school in 2018
    and confirmed the results with further testing in 2019, 2020 and 2021.
    ATSDR made its Coldwater Creek-area indoor testing recommendations in
    2019. The Army Corps informed the Superintendent of the Hazelwood
    School District on January 27, 2022. “The property located at 405 Jana
    Drive is identified as CWC-386. The results show the presence of low-level
    radioactive contamination on this property located in the banks of Coldwater
    Creek within the property boundary.” This “low-level radioactive
    contamination” is many times the allowable EPA clean-up levels for thorium
    and radium. According to the EPA Region 7 proposed record of decision for
    this area, the clean up levels are:

                       Radium-226 + Radium-228 < 2.9 pCi/g
                      Thorium-230 + Thorium-232 < 2.9 pCi/g


    The actual “low” levels found for these isotopes range up to 3.91 pCi/g for
    radium-226 + radium-228 and 35.50 pCi/g for Thorium-230 + Thorium-232.




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    References:


    ATSDR 2019, Evaluation of Community Exposures Related to Coldwater
    Creek, EPA FACILITY ID: MOD980633176

    www.atsdr.cdc.gov/sites/coldwater_creek/docs/St_Louis_Airport_Site_Haze
    lwood_InterimSto_PHA-508.pdf


    Kaltofen 2018, Forensic microanalysis of Manhattan Project legacy
    radioactive wastes in St. Louis, MO,
    https://doi.org/10.1016/j.apradiso.2018.02.020




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    Appendix 1: Summary of Army Corps Data

    The results of the Army Corps analyses show that radioactive contamination
    is present on the Jana Elementary School property. The following results are
    for the Army Corps Jana School data in pCi/g. Background activities for
    these isotopes are approximately 1.0 to 1.5 pCi/g in soil and these charts
    isotopic results in soils above 2.0 pCi/g. Data is in pCi/g.
    (reference: https:// semspub.epa.gov/work/07/30356608.pdf)

    Jana School samples with elevated Ra-226 (2 pCi/g or more, 11 of 215)

    SVP211105         2.04 ± 0.52        SVP208718          2.50 ± 0.61
    SVP211106         2.05 ± 0.53        SVP208731          3.01 ± 0.73
    SVP205298         2.10 ± 0.51        SVP208723          2.06 ± 0.50
    SVP205299         2.90 ± 0.70        SVP208720          2.22 ± 0.54
    SVP205306         2.48 ± 0.61        SVP208719          2.09 ± 0.51
    SVP208714         2.09 ± 0.51

    Mean = 2.32 ± 0.57       Range = ND to 3.01       Bacground 1.06

    Jana samples with excessive Th-228 (3 of 215)

    SVP190155         2.25 ± 0.70
    SVP202537         2.13 ± 0.72
    SVP207132         2.22 ± 0.82

    Mean = 2.20 ± 0.75       Range = ND to 2.25

    Jana samples with excessive Th-230 (84 of 215, too numerous to list)

    Mean = 6.18 ± 1.46       Range = ND to 34.30      Background = 1.51

    Jana sample with excessive U-235 (1 of 215)

    SVP190188         0.66 ± 0.36

    Mean = 0.66 ± 0.36       Range = ND to 0.66

    Jana samples with excessive U-238, Ra228, or Th232 (0 of 215)


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    Appendix 2: Proposed Site Inspection Activities


    Objective


    The primary scientific objective of this proposed Jana Elementary School,
    Hazelwood School District, 405 Jana Lane, Florissant, MO (Jana School),
    sampling plan is to collect and analyze samples of outdoor soils and indoor
    dusts from locations that were not sampled in the 2018 to 2022 US Army
    Corps of Engineers’ (Army Corps) sampling and testing program. These
    include samples of bulk dusts or wipe samples from interior spaces of the
    Jana School, as well as outdoor soil and dust samples collected within 300
    feet of the occupied school buildings. In addition a number of soil and
    sediment samples in the Army Corps-sampled areas will also be collected.
    Soil and sediment samples will be hand-collected at or with 18 inches of the
    ground surface.


    Site Description


    The sample site is an elementary school located at 405 Jana Lane, Florissant,
    MO. The school is bounded on four sides by Coldwater Creek, a tributary
    stream to Coldwater creek, Jana lane and by residential housing
    developments. The creek and tributary beds are known to be contaminated
    with isotopes of radium and thorium (primarily thorium-230) from historic
    radiological contamination originating upstream of the site. Radiological
    contaminants have been mobilized by (among other factors) Coldwater
    Creek flooding, including flooding as recently as late July 2022.



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    Contaminants of Concern


    Prior testing has found Ra-226, Ra-228, U-235, Th-228, Th-230, Th-232,
    Cs-137, Pb214, Pb-212, Pb-210, Bi-214 and Po-210 on this and on
    surrounding properties.


    Proposed Analytes


    Based on site history and on the contaminants of concern listed, the
    proposed analyses include:
          Isotopic radium by alpha spectroscopy
          Isotopic uranium by alpha spectroscopy
          Isotopic thorium by alpha spectroscopy
          Pb-210/Po-210 by Eichrom method
          Cs-134, Cs-137 + NORM isotopes by HPGE gamma spectrocopy
          SEM/EDS analysis (X-ray microspectroscopy)
    Analyses will be performed by an independent certified commercial
    laboratory, Eberline Analytical of Oak Ridge, TN, and Microvision
    laboratories of Massachusetts. Sample jars and documents (chains of
    custody, custody seals) for bulk soil and dust samples will be provided by
    Eberline Analytical. Settled dust samples will be collected using Zefon®
    Biotape® prepared microslides for SEM/EDS analyses.




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    Sampling Description


    Sampling technicians will collect and analyze samples of up to 36 outdoor
    soils and 24 indoor dusts. The bulk (but not all) of these samples will be
    taken from locations that were not sampled in the 2018 to 2022 US Army
    Corps of Engineers’ (Army Corps) sampling and testing program (see figure
    at end of sample protocol). These include samples of bulk dusts or wipe
    samples from interior spaces of the Jana School, as well as outdoor soil and
    dust samples collected within 300 feet of the occupied school buildings. In
    addition a number of soil and sediment samples in the Army Corps-sampled
    areas will also be collected.


    Soil and sediment samples will be hand-collected at or with 18 inches of the
    ground surface. Dust samples will include bulk samples (such as the
    contents of on-site vacuum cleaners, dusts hand-collected from air handling
    equipment including ventilation and food refrigeration equipment) and lift-
    tape samples from both interior and exterior structural and other surfaces.
    Interior dust sample collections may require the use of approved ladders
    during collection.


    Standardized US EPA Good Laboratory Practices and full chain of custody
    documentation shall apply. Level IV documentation packages will be
    required from the contract laboratories where applicable. Split samples will
    be made available after laboratory homgenization. Biotape® slide samples
    will be collected in duplicate and provided as splits during or immediately
    after field sampling.



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    A rate counter or GPS-enabled rate counter may be employed for safety or
    record-keeping reasons, but will not be used to select or reject sample
    locations or sample aliquots.


    Sample collection will require a full day for interior sampling, and one to
    two full days for exterior (soil and sediment) sampling.


    Sample sizes are anticipated to range from 125 ml to 500 ml, and sufficient
    equipment and precleaned containers will be staged to cover the full range of
    potential sample amounts that are likely to be encountered. All samples will
    be double bagged and labelled upon collection.


    A trip blank will be used for the Biotape® slides and bulk samples.
    Duplicate samples will be collected at a rate of 1 per 10 unique samples.


    At the end of each sampling event all samples will be transferred to a sealed
    cooler with chain of custody and custody seals for transfer to the appropriate
    laboratory via Fed Ex or equivalent service.


    A copy of the completed chains of custody will be provided to each party at
    the earliest opportunity.




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